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				BOSSE v. STATE2021 OK CR 23Case Number: PCD-2019-124Decided: 08/31/2021SHAUN MICHAEL BOSSE, Petitioner v. THE STATE OF OKLAHOMA, Respondent.
Cite as: 2021 OK CR 23, __  __

				

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ORDER VACATING PREVIOUS ORDER AND JUDGMENT
GRANTING POST-CONVICTION RELIEF
AND WITHDRAWING OPINION FROM PUBLICATION


¶1 Based on the Court's decision in State ex rel. Matloff v. Wallace, 2021 OK CR 21, ___ P.3d ___, the previous order and judgment granting post-conviction relief in this case are hereby VACATED and SET ASIDE. The issuance of the mandate in this case was previously stayed by this Court on April 15, 2021, and no mandate has issued. The opinion in Bosse v. State, 2021 OK CR 3, 484 P.3d 286 is WITHDRAWN. The Court will issue a separate order addressing Petitioner's claims for post-conviction relief at a later time.

¶2 IT IS SO ORDERED.

¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 31st day of August, 2021.


/S/SCOTT ROWLAND, Presiding Judge 


/S/ROBERT L. HUDSON, Vice Presiding Judge

/S/GARY L. LUMPKIN, Judge

/S/DAVID B. LEWIS, Judge

ATTEST:
/s/John D. Hadden
Clerk


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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	

Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 27, ROTH v. STATECited
&nbsp;2021 OK CR 30, BOSSE v. STATECited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 3, WITHDRAWNDiscussed
&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACECited


	
	








				
					
					
				

		
		




	
		
			
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